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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division



  UNITED STATES OF AMERICA,

                              Plaintiff,

         v.                                                   Case No. 1:18-mj-00196-TCB

  GEORGE A. NADER,

                              Defendant.


     SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION FOR LEGAL
            DEFENSE TEAM TO HAVE ACCESS TO DEFENDANT

       Defendant George Aref Nader, by and through the undersigned, respectfully responds to

the Court’s request for supplemental information submitted to counsel by the Court via electronic

mail on June 19, 2019.

       This list represents the current individuals Mr. Nader would like access to:

       Kathryn Ruemmler
       Christopher Clark
       Jonathan Su
       Timothy McCarten
       Jonathan Jeffress
       William Zapf
       Tom Feeney
       Troy Toliver
       Emily Voshell
       Chantel Christian
       Uchenna Anikwe
       Clayton LaForge
       Savannah Burgoyne
       Zachary Williams
       Arik Ben-Zvi
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       Several of the individuals on this list will only visit once or twice and always during visiting

hours as instructed by the Alexandria Detention Center.          Certain attorneys will visit more

frequently throughout the duration of this case, during visiting hours, as instructed by the

Alexandria Detention Center. Any experts or other individuals/consultants likely will only visit

once or twice during approved visiting hours, but it may be more depending on the needs of the

case, and always during approved visiting hours. In the ordinary course, we do not envision more

than three visitors at a time, unless the needs of the case necessitate additional visitors and their

presence complies with Detention Center rules.




Dated: June 19, 2019                          Respectfully submitted,


                                              LATHAM & WATKINS LLP

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                                 George Aref Nader
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of June, 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

Jay Prabhu
Laura Fong
Assistant United States Attorney
Justin W. Williams United States Attorney’s Building
2100 Jamieson Ave.
Alexandria, VA 22314



                                              /s/ Clayton D. LaForge
                                             Clayton D. LaForge, VA. Bar No 84075
